Case 2:17-cv-03881-JPH Document 1 Filed 08/29/17 Page 1 of 26

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

KAREN MANERI
Plaintiff : CIVIL ACTION
V. Case No.
STARBUCKS CORPORATION JURY TRIAL DEMANDED
Store #15627 ;
Defendants

To: Christian Hoey, Esquire

50 Darby Road

Paoli, PA 19301

NOTICE OF REMOVAL

PLEASE TAKE NOTICE that on August 28, 2017, Defendant Starbucks Corporation
filed in the office of the Clerk of the United States District Court for the Eastern District of
Pennsylvania the within Notice of Removal.

The Notice of Removal is also being filed with the Court of Common Pleas of
Philadelphia County pursuant to 28 U.S.C. §1446(d).

A Praecipe to Remove the case from the Philadelphia County docket will be filed after

the Federal Court assigns this matter an appropriate civil action number.

Respectfully submitted,

  
 

CIPRIANI & WERNER, TC.

By:

 

“— Salvatore Vilardi, Esquire
( PA JD# 84718
450 Sentry Parkway, Suite 200

Blue Bell, PA 19422
(610) 567-0700 telephone
(610) 567-0712 facsimile
Attorney for Defendant
Starbucks Corporation

Date: August 28 2017
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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

KAREN MANERI
Plaintiff | CIVIL ACTION
Vv. | Case No.
STARBUCKS CORPORATION : JURY TRIAM DEMANDED
Store #15627 :
Defendants

NOTICE OF REMOVAL

Defendant Starbucks Corporation hereby files the within Notice of Removal to
the United States District Court for the Eastern District of Pennsylvania, stating as
follows:

Alleged Facts:

1. On or about August 9, 2017, Plaintiff filed a Complaint against Starbucks
Corporation in the Court of Common Pleas of Philadelphia County, Pennsylvania under
docket number 170502333. True and correct copies of Plaintiff's Complaint and the
Electronic Docket of the Court of Common Pleas of Philadelphia County are attached
hereto and marked as Exhibits “A” and “B,” respectively.

nm This action involves an incident that allegedly occurred as a result of a cup
of hot tea purchased by Plaintiff at the Starbucks store located at 851 West Lancaster
Avenue in Wayne, Pennsylvania. See Exhibit “A,” 997 - 11.

By In the Complaint, Plaintiff contends she sustained burn injuries when the
lid on her cup of hot tea, “unexpectedly and without notice of warning, popped off”

causing the tea to spill onto her right leg. See Exhibit “A,” 411.
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4. Plaintiff is demanding judgment against Defendant Starbucks on theories
of negligence, products liability, and breach of warranty for an amount in excess of
$50,000.00. See Exhibit “A.”

Diversity of Citizenship:

5s Plaintiff, based on information and belief, and as pled in her Complaint, is
a citizen of the Commonwealth of Pennsylvania.

6. Plaintiff alleges in her Complaint that Starbucks Corporation 1s a “duly
registered corporation and registered in the Commonwealth of Pennsylvania as a foreign
business corporation... .” See Exhibit A, 93.

7. Starbucks Corporation is a Washington corporation with its principal place
of business located at 2401 Utah Avenue South, Seattle, WA 98134.

8. Accordingly, because Plaintiff and Defendant Starbucks Corporation are
citizens of different states, complete diversity of citizenship exists between the parties in
accordance with 28 U.S.C. § 1332, and 28 U.S.C. § 1441.

Amount in Controversy:

9. In her Complaint, Plaintiff seeks to recover for injuries including, inter
alia, first and second degree burns to her right calf, blistering and epidermal loss,
permanent scarring, and permanent emotional neurological damages. See Exhibit “A,”
4181.

10. Plaintiff further seeks to recover various sums of money expended, and
expected to be expended, for medical and psychological treatment, therapy and

counseling. See Exhibit “A,” 431.
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11. Inher Complaint, Plaintiff alleges that she sustained a loss of earnings and
eaming capacity. See Exhibit “A,” 931.

12. Plaintiff's allegations of physical and psychological injury with
permanency, make this a claim where a verdict could reach above $75,000.00, the
jurisdictional threshold.

13. | The present action is a civil action over which this Court has original
jurisdiction by virtue of the diversity of citizenship of the parties pursuant to 28 U.S.C.
§1332.

14. In accordance with §1332, this case involves (a) injuries that, as alleged,
will exceed $75,000.00, exclusive of interest and costs; and (b) is between citizens of
different states. 28 U.S.C. § 1332(a)(3).

15. Additionally, in accordance with applicable Federal Rules of Civil
Procedure and/or Statutes, namely 28 U.S.C.A. §1446(b), this Notice of Removal was
filed within thirty (30) days after Defendant received service of Plaintiff's Complaint.

See Johnson v. Vertis, Inc., 2002 WL 31388817 (E.D. Pa.)(citing 28 U.S.C. § 1446(b)).

 

16. Accordingly, pursuant to 28 U.S.C. §1332, this is a civil action that may
be removed by Defendant, Starbucks Corporation, and over which this Court has original

jurisdiction.
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WHEREFORE, Defendant, Starbucks Corporation, respectfully requests that the

aforementioned civil action commenced against it be removed to this Court for all further

proceedings.

Respectfully submitted,

CIPR ERNER, P.C.

By: a ; |

/ Salvatore Vilardi, Bspuire

PA ID# 84718
50 Sentry Parkway, Suite 200

Blue Bell, PA 19422
(610) 567-0700 telephone
(610) 567-0712 facsimile
Attorney for Defendant
Starbucks Corporation

Date: August 28, 2017
Case 2:17-cv-03881-JPH Document1 Filed 08/29/17 Page 6 of 26

AFFIDAVIT
Salvatore Vilardi, Esquire, being sworn according to law deposes and says that he
is counsel for Petitioner Starbucks Corporation n the within matter; and that he has read
the foregoing Notice for Removal and believes it to be true and correct, to the best of his
knowledge, information and belief.
Respectfully submitted,

CIPRIAN

Co Vilardi, Esq uire
# 84718

450 Sentry Parkway, Suite 200
Blue Bell, PA 19422

(610) 567-0700 telephone
(610) 567-0712 facsimile
Attorney for Defendant
Starbucks Corporation

  

Date: August 28, 2017
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CERTIFICATE OF SERVICE

That counsel for the Defendant, Starbucks Corporation hereby certifies that a true

and correct copy of its Notice of Removal has been served on all counsel of record, by

electronic and/or first class mail, postage pre-paid, according to the Pennsylvania Rules

of Civil Procedure.

Date: August 28, 2017

Christian J. Hoey, Esquire
Christian Hoey, Esquire, LLC
50 Darby Road
Paoli, PA 19301-1416

Respectfully submitted,

CIPREANI & WERNER, P.C.

a
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Salvatore Vilardi, Esquire
PA ID# 84718

50 Sentry Parkway, Suite 200
Blue Bell, PA 19422
(610) 567-0700 telephone
(610) 567-0712 facsimile

Attorney for Defendant
Starbucks Corporation
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EXHIBIT “A”
Case 2:17-cv-03881-JPH Document 1 Filed 08/29/17 Page 9 of 26

CHRISTIAN HOEY, ESQUIRE, LLC
Christian J. Hoey, Esquire

Attorney I.D. 70999

50 Darby Road

Paoli, PA 19301

610-647-5151

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COURT OF COMMON PLEAS.

KAREN MANERI

416 School House Lane

Strafford, PA 19087 PHILADELPHIA COUNTY,
PLAINTIFF PENNSYLVANIA

VS. CIVIL ACTION - LAW

STARBUCKS CORPORATION MAY TERM, 2017

Store #15627

851 West Lancaster Avenue NO. 02333

Wayne, PA 19333,
DEFENDANT JURY TRIAL DEMANDED

COMPLAINT
l. Plaintiff, Karen Maneri (hereinafter “Plaintiff’) is an adult individual and resident of the

Commonwealth of Pennsylvania residing at 416 School House Lane, Strafford, Pennsylvania

19087.

2. Defendant, Starbucks Corporation (hereinafter “Starbucks”) is a corporation organized and

existing under and by virtue of the laws of the Commonwealth of Pennsylvania with offices

located at 851 West Lancaster Avenue, Wayne, PA 19333.

3. Defendant, Starbucks is a duly registered corporation and registered in the Commonwealth

of Pennsylvania as a foreign business corporation, conducting and sustaining business on a

regular basis within Philadelphia County and surrounding counties in the Commonwealth

of Pennsylvania including retail stores at the following Philadelphia County locations, among

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others:

a. 2301 Walnut Street, Philadelphia, Pennsylvania;

b. 1945 Callowhill Street, Philadelphia, Pennsylvania;

c. — 1528 Walnut Street, Philadelphia, Pennsylvania;

d. 1201 Market Street, Philadelphia, Pennsylvania;

e. 1301 Chestnut Street, Philadelphia, Pennsylvania;

f. 1801 Spruce Street, Philadelphia, Pennsylvania;

g. 1801 Market Street, Philadelphia, Pennsylvania;

h. 200 South Broad Street, Philadelphia, Pennsylvania; and

I. 254 South 15" Street, Philadelphia, Pennsylvania.

At all times material hereto, the Defendant employed as its real and/or ostensible agents,
servants, employees and workmen, who participated in and rendered services to Plaintiff, to
wit: taking her order; filling her order; packaging her order and distributing her order to her.
Consequently, this corporate Defendant is liable vicariously for any and all liability imposing
acts and/or omissions committed by any of its real and/or ostensible agents, servants, and/or
employees in their packaging and distributing Plaintiff's drink by virtue of the laws of agency
of the Commonwealth of Pennsylvania.

Within the body of this Complaint, Plaintiff will more specifically identify the conduct
which Plaintiff avers to be at issue with respect to real and/or ostensible agents, servants
and/or employees of this Defendant.

At all times material hereto, the Defendant owed Plaintiff a non-delegable duty of care to
provide an otherwise non-defective product, a non-defective cup, a non-defective lid, to
advise Plaintiff of the unreasonably dangerous condition regarding the hot-cupped beverage

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described herein, provide Plaintiff a product that carried with it no unreasonable risk of
injury and to warn Plaintiff of the unreasonably dangerous condition of the hot-cupped
beverage described herein.

On or about January 8, 2017, Plaintiff drove her car through the drive-thru lane at the
Starbucks location at Store #15627, 851 West Lancaster Avenue, Devon, PA 19333.
Upon approaching the drive-thru order window, Plaintiff ordered a Venti hot tea for herself.
Atall times hereto, an employee, agent, ostensible agent and/or workman of Starbucks filled,
capped and handed Plaintiff a cup of hot tea through the service window of the drive-thru.
Plaintiff grasped the cup, brought it into her car and placed it in the beverage holder in the
center console and pulled through the drive-thru lane.

Plaintiff drove home from the Devon, Pennsylvania Starbucks location, approximately four
(4) minutes away. As Plaintiff entered her driveway, the lid on her cup of hot tea,
unexpectedly and without notice of warning, popped off and the contents of her hot drink
spilled onto the calf of her right leg, causing her to suffer injuries described more specifically
herein.

As set forth in this Complaint, the Defendant failed to fulfill its legal duty to provide Plaintiff
a container that was reasonable safe and able to adequately and safely maintain its contents
without spilling, exploding or emptying, unexpectedly and without warning upon Plaintiff.
The Defendant had a duty to take reasonable steps to ensure that its containers were safe and
could reasonable, safely and adequately maintain the contents of said drink.

The Defendant had a duty to take reasonable steps to ensure that the contents of its hot drinks
were maintained at a temperature that would not cause injury/serious bodily injury to

Plaintiff.

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As set forth in this Complaint, the Defendant failed to fulfill its legal duty to ensure that its
containers were safe and adequate in their composition to prevent spilling.

As set forth in this Complaint, the Defendant failed to fulfill its legal duty to ensure that the
contents of its hot drinks were not raised to a temperature that would cause injury/serious
bodily injury.

As a result of the Defendant’s negligence and careless acts and omissions Plaintiff was
severely burned by the contents of the hot drink which was purchased from the Defendant
and its agents, servants and ostensible agents on January 8, 2017.

The unreasonably dangerous condition of the hot beverage described herein, coupled with
the Defendant’s failure to properly secure the lid on Plaintiff's cup along with the defective
nature of the lid and cup combination caused Plaintiff to sustain the following injuries:

a. Second degree burns to her right calf;

b. First degree burns to her right calf;

c. Blistering and epidermal loss;

d. Pain and suffering;

€. Permanent scarring;

f. Situational anxiety and mental distress;

g. Permanent disfigurement; and

h. Permanent emotional and neurological damages.

COUNT I - VICARIOUS LIABILITY
KAREN MANERI vs. STARBUCKS CORPORATION

Plaintiff incorporates the averments of the preceding paragraphs as if each were set forth
herein at length.
At all times material hereto, the Defendant employed various agents, servants, ostensible

agents and workmen to take orders, fill orders and provide hot drinks to customers such as

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Plaintiff.

21. On or about January 8, 2017, the Defendant’s employees, agents, ostensible agents and
workmen took Plaintiff’s order, filled Plaintiff's order and provided Plaintiff at hot drink
which was raised to a dangerously high temperature which was known by this Defendant and
its agents to cause serious bodily injury.

22. Because the Starbucks employees, agents, servants and ostensible agents were acting within
the course and scope of their employment with the Defendant at the time they caused the
subject incident, pursuant to the doctrine of respondeat Superior Defendant, Starbucks is
vicariously liable to Plaintiff for the negligence, and carelessness of its employees which
resulted in Plaintiff sustaining serious bodily injury and other damages that were proximately
and foreseeable caused by the employees’ negligence.

23. Asaresult of the above-described conduct, Plaintiff has suffered and continues to suffer
great pain of mind and body, shock, emotional distress, physical manifestations of emotional
distress, embarrassment, loss of self-esteem, disgrace, humiliation and loss of enjoyment of
life; was prevented and will continue to be prevented from performing her daily activities and
obtaining the full enjoyment of life; has sustained and will continue to sustain loss of
earnings and earning capacity; and/or has incurred and will continue to incur expenses for
medical and psychological treatment, therapy, and counseling.

WHEREFORE, Plaintiff demands against the Defendant, compensatory damages in an amount in

excess of $50,000.00, together with interest and damages for pre-judgment and post-judgment delay.

COUNT JI -NEGLIGENCE
KAREN MANERI vs. STARBUCKS CORPORATION

24. Plaintiff incorporates the averments of the preceding paragraphs as if each were set forth

herein at length.

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Defendant, Starbucks Corporation by and through its agents, servants, and employees knew
or reasonably should have known that the contents of its hot drinks were inherently
dangerous and had the propensity to cause serious bodily injury.

It was foreseeable that hot drinks served by the Defendants were not adequately cooled and
were raised to a temperature which created the substantial risk of serious bodily injury.
The Defendant knew and/or should have known that the contents of its hot drinks were
inherently dangerous and likely to cause serious burns and serious bodily injury.

The Defendant owed to the public in general, and to Plaintiff in particular, a duty to serve
reasonably cooled drink contents so as to avoid serious burns and serious bodily injury.
The Defendant owed to the public in general, and to the Plaintiff in particular, a duty to
utilize containers which adequately and safely maintain the contents of its hot drink without
spilling or causing a dangerous condition to Plaintiff.

In causing the aforesaid incident, the Starbucks employees, agents, ostensible agents and
workmen involved in preparing, placing in a container and serving Plaintiff as alleged were

negligent in one or more of the following particulars:

a. By failing to properly secure the lid on the cup provided to Plaintiff;

b. Serving hot drink contents which were dangerously overheated;

c. By failing to warn Plaintiff of the risk of severe burns associated with the contents
of her hot drink;

d. Failing to verify that the lid on Plaintiff's cup was properly secured before

handing the drink to Plaintiff;

e. Preparing hot drinks to a temperature level which was inherently dangerous to
Plaintiff;

f. Utilizing a cup and lid combination which was defective;

g. Utilizing a cup and lid combination which was inadequate to safely maintain the

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contents of its hot drink;
h. Served Plaintiff a hot drink which was raised to a dangerously high temperature;
i. Served a hot drink which was likely to cause serious burns; and
j. Failed to adequately place and secure the lid on Plaintiff's drink so as to prevent
spilling and serious burns.

31. Asa result of the above-described conduct, Plaintiff has suffered and continues to suffer
great pain of mind and body, shock, emotional distress, physical manifestations of emotional
distress, embarrassment, loss of self-esteem, disgrace, humiliation and loss of enjoyment of
life; was prevented and will continue to be prevented from performing her daily activities and
obtaining the full enjoyment of life; has sustained and will continue to sustain loss of
earnings and earning capacity; and/or has incurred and will continue to incur expenses for
medical and psychological treatment, therapy, and counseling

WHEREFORE, Plaintiff demands against the Defendant, compensatory damages in an amount in

excess of $50,000.00, together with interest and damages for pre-judgment and post-judgment delay.

COUNT III - PRODUCT LIABILITY
KAREN MANERI vs. STARBUCKS CORPORATION

32. Plaintiff incorporates the averments of the preceding paragraphs as if each were set forth
herein at length.

33.  Atall times material hereto, the Defendant was in the business of selling hot beverages in
disposable cups, which cups were constructed from paper, lined with polyethylene, and fitted
with polystirene lids (hereinafter: “hot cupped beverage”). The Defendants sold Plaintiff a
hot cupped beverage, and the hot cupped beverage described herein reached Plaintiff without
a substantial change in its condition.

34. | Upon reaching Plaintiff, the hot cupped beverage described herein was used by her in a

reasonably foreseeable manner.

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35.  Atall times relevant herein, the hot cupped beverage described herein was dangerous to an
extent beyond that which would be contemplated by an ordinary consumer, to wit: the hot
cupped beverage was delivered to Plaintiff at a temperature far too hot for a person to drink,
and readily capable of causing severe burns requiring hospitalization and/or medical
treatment.

36. | The hot cupped beverage described herein was defective in its design and/or
manufacture, to wit: the lid of the container delivered to Plaintiff failed to stay affixed thereto
when under foreseeable and normal use, causing the container to suffer structural failure and
spill its contents onto Plaintiff.

37. To the extent that warnings or instructions were issued by Defendant to Plaintiff in regards
to the unreasonably dangerous condition of the hot cupped beverage described herein, said
warnings or instructions were inadequate. The aforementioned defect in the polystirene lid

' was the proximate cause of Plaintiff's severe burns and permanent injury.

38. The defect in the polystirene lid affixed to the Defendant’s cup existed at the time the
Defendant served the hot cupped beverage to Plaintiff.

39. As aresult of the above-described conduct, Plaintiff has suffered and continues to suffer
great pain of mind and body, shock, emotional distress, physical manifestations of emotional
distress, embarrassment, loss of self-esteem, disgrace, humiliation and loss of enjoyment of
life; was prevented and will continue to be prevented from performing her daily activities and
obtaining the full enjoyment of life; has sustained and will continue to sustain loss of
earnings and earning capacity; and/or has incurred and will continue to incur expenses for
medical and psychological treatment, therapy, and counseling

WHEREFORE, Plaintiff demands against the Defendant, compensatory damages in an amount in

excess of $50,000.00, together with interest and damages for pre-judgment and post-judgment delay.

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COUNT IV - BREACH OF WARRANTY - MERCHANTABILITY
KAREN MANERI vs. STARBUCKS CORPORATION

Plaintiff incorporates the averments of the preceding paragraphs as if each were set forth
herein at length.

At all times material hereto, the Defendant was a merchant under Pennsylvania Law, with
respect to the preparation and retain sales of hot beverages.

The Defendant sold a hot beverage to Plaintiff.

The hot beverage and container that the Defendant’s sold and provided to Plaintiff was not
of merchantable quality, because the hot beverage was not provided in an adequate container,
to wit: the lid of the provided container failed to stay affixed thereto under foreseeable,
reasonable and normal use, causing the container to suffer structural failure and spill its
contents onto Plaintiff.

Plaintiff immediately notified the Defendant of its breach of warranty.

Plaintiff sustained damages resulting from the Defendant’s breach of warranty.

As a result of the above-described conduct, Plaintiff has suffered and continues to suffer
great pain of mind and body, shock, emotional distress, physical manifestations of emotional
distress, embarrassment, loss of self-esteem, disgrace, humiliation and loss of enjoyment of
life; was prevented and will continue to be prevented from performing her daily activities and
obtaining the full enjoyment of life; has sustained and will continue to sustain loss of
earnings and earning capacity; and/or has incurred and will continue to incur expenses for

medical and psychological treatment, therapy, and counseling

WHEREFORE, Plaintiff demands against the Defendant, compensatory damages in an amount in

excess of $50,000.00, together with interest and damages for pre-judgment and post-judgment delay.

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COUNT V - BREACH OF WARRANTY -
FITNESS FOR THE PARTICULAR PURPOSE
KAREN MANERI vs. STARBUCKS CORPORATION
Plaintiff incorporates the averments of the preceding paragraphs as if each were set forth
herein at length.
Defendant sold Plaintiff a hot cupped beverage.
At all time material hereto, the Defendant has reason to know that the hot cupped beverage
it sold to Plaintiff was purchased for particular purposes, including, but not limited: grasping,
handling, transporting in Plaintiff's car and consumption in Plaintiff's car and home.
Atall times relevant hereto, Plaintiffrelied upon the Defendant’s skill or judgment to furnish
suitable goods with reference to the described hot cupped beverage.
Defendant impliedly warranted to Plaintiff that the hot cupped beverage would be suitable
for grasping, handling, consuming in a motor vehicle and/or transporting in Plaintiff's motor
vehicle.
The hot cupped beverage was not, in fact, suitable for grasping, handling, consuming in a
motor vehicle and/or transporting in Plaintiff's motor vehicle and the following respects: the
contents of the hot cupped beverage were unreasonably and dangerously hot, being too hot
for a person to drink and readily capable of causing severe burns requiring hospitalization;
and the lid of the container used in preparing the hot cupped beverage failed to stay affixed
thereto when unforeseeable, reasonable and normal use, causing the container to suffer
structural failure and spill its contents upon Plaintiff.
Plaintiff immediately notified the Defendant of its breach of warranty.
Plaintiff suffered damages as a result of the Defendant’s breach of warranty.
As a result of the above-described conduct, Plaintiff has suffered and continues to suffer
great pain of mind and body, shock, emotional distress, physical manifestations of emotional

distress, embarrassment, loss of self-esteem, disgrace, humiliation and loss of enjoyment of

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life; was prevented and will continue to be prevented from performing her daily activities and
obtaining the full enjoyment of life; has sustained and will continue to sustain loss of
eatnings and earning capacity; and/or has incurred and will continue to incur expenses for
medical and psychological treatment, therapy, and counseling

WHEREFORE, Plaintiff demands against the Defendant, compensatory damages in an amount in:

excess of $50,000.00, together with interest and damages for prejudgment and post-judgment delay.

Date: %-4 AY an
CHRISHAM. Ah [\.
Attorney for Plaintiff,
Karen Maneri

rT Case ID: 170502333
_ Case 2:17-cv-03881-JPH Document1 Filed 08/29/17 Page 20 of 26

VERIFICATION

I, Karen Maneri, hereby verify that the statement made in the foregoing Complaint are true
and correct to the best of my knowledge, information and belief. I understand that false statements

are made subject to the penalties of 18 Pa. C.S.A. Section 4904 relating to unsworn falsification to

authorities.

Date: 07/30/17 Kaw Women

Karen Maneri /

Case ID: 170502333
Case 2:17-cv-03881-JPH Document 1 Filed 08/29/17 Page 21 of 26

EXHIBIT “B”
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Docket Report - RSG COM AMIR RAH Document 1 Filed 08/29/17 Page 22 of 26 Page 1 of 5
Docket Report
Case Description
Case ID: 170502333
Case Caption: MANER! VS STARBUCKS CORPORATION ETAL
Filing Date: Monday , May 15th, 2017
Location: CH - City Hall
Case Type: 20 - PERSONAL INJURY - OTHER
Status: CLLCM - LISTED FOR CASE MGMT CONF
Related Cases
No related cases were found.
Case Event Schedule
Event Date/Time | Room Location Judge
CASE MANAGEMENT 14-SEP-2017 || City Case Management unassigned
CONFERENCE 02:00 PM Hall Center, Rm 613
Case Motions
No case motions were found.
Case Parties
Expn
Seq #| Assoc Date Type ID Name
1 ATTORNEY FOR | A70999 HOEY, CHRISTIAN J
PLAINTIFF
Address: | 50 DARBY ROAD Aliases: | "one
PAOLI PA 19301
(610)647-5151
(610)993-8472 -
FAX
2 1 PLAINTIFF @9439367 | MANERI, KAREN
Address: | 416 SCHOOL Aliases: | 0Nne
HOUSE LANE
STRAFFORD PA
19087
I I I
https://fjdefile.phila.gov/efsfjd/zk_fjd_prvt_efile_13.zp_dktrpt_docket_report?case_id=17050233... 8/25/2017
Docket Report - ReSH Otic Pett Document 1 Filed 08/29/17 Page 23 of 26 Page 2 of 5

 

 

 

 

 

 

3 6 DEFENDANT @9439368 | STARBUCKS
CORPORATION
Address: P.O. BOX 34442 Aliases: STARBUCKS
SEATTLE WA STARBUCKS COFFEE COMPANY
98124-1442 STARBUCKS COFFEE
4 12-JUL- DEFENDANT @9439369 | STARBUCKS COFFEE
2017 COMPANY STORE
NUMBER 15627
Address: | 851 WEST Aliases: | "0ne
LANCASTER
AVENUE

WAYNE PA 19333

 

 

 

 

 

5 TEAM LEADER ||J357 NEW, ARNOLD L
Address: 606 CITY HALL Aliases: || none
PHILADELPHIA PA
19107

(215)686-7260

 

 

6 ATTORNEY FOR || A84718 VILARDI, SALVATORE
DEFENDANT

Address: CIPRIANI & Aliases: || [0ne
WERNER

450 SENTRY
PARKWAY
SUITE 200
BLUE BELL PA
19422
(610)567-0700
(610)567-0712 -
FAX

 

 

 

 

 

 

 

 

 

Docket Entries

 

L] Check for Threaded Docket

This feature will reduce the docket
to motion related entries only.

 

 

Filing _ Disposition| Approval/
Date/Time PEEKS TRE Filing Party Amount] Entry Date
15-MAY-2017 | ACTIV - ACTIVE CASE 15-MAY-2017

04:25 PM 04:27 PM

 

 

 

 

 

 

 

E-Filing Number: 1705035517

https://fjdefile.phila.gov/efsfjd/zk_fjd_prvt_efile_13.zp_dktrpt_docket_report?case_id=17050233.... 8/25/2017
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

REGULAR MAIL ON 05/25/2017 FILED.

Docket Report - NBPECOMANISEhH Document 1 Filed 08/29/17 Page 240f26 page 3 of 5
Docket
Entry:
15-MAY-2017 | CIVIJ - HOEY, 15-MAY-2017
04:25 PM COMMENCEMENT CIVIL | CHRISTIAN J 04:27 PM
ACTION JURY
Documents: || Final Cover
Docket none
Entry: ‘
15-MAY-2017 | WRSUM - PRAE TO HOEY, 15-MAY-2017
04:25 PM ISSUE WRIT OF CHRISTIAN J 04:27 PM
SUMMONS
Documents: || EQOA. pdf
PRAECIPE WRIT SUMMONS. pdf
Docket|| PRAECIPE TO ISSUE WRIT OF SUMMONS FILED. WRIT OF SUMMONS
Entry: | ISSUED.
15-MAY-2017 | SSCG2 - SHERIFF'S HOEY, 15-MAY-2017
04:25 PM SURCHARGE 2 DEFTS CHRISTIAN J 04:27 PM
Docket ee
Entry: ,
15-MAY-2017 || JURYT - JURY TRIAL HOEY, 15-MAY-2017
04:25 PM PERFECTED CHRISTIAN J 04:27 PM
Docket} 15 JURORS REQUESTED.
Entry:
15-MAY-2017 | CLWCM - WAITING TO HOEY, 15-MAY-2017
04:25 PM LIST CASE MGMT CONF |CHRISTIAN J 04:27 PM
Docket RONG
Entry: ,
02-JUN-2017 || AFDVT - AFFIDAVIT OF 02-JUN-2017
09:24 AM SERVICE FILED 10:44 AM
Documents: || Affidavit of Service
Docket AFFIDAVIT OF SERVICE OF PLAINTIFF'S WRIT OF SUMMONS UPON
Entry: STARBUCKS CORPORATION BY CERTIFIED MAIL, FIRST CLASS

 

 

 

https://fjdefile.phila.gov/efsfjd/zk_fjd_prvt_efile_13.zp_dktrpt_docket_report?case_id=17050233...

 

8/25/2017
Docket Report - NSPE COMM RA Document 1 Filed 08/29/17 Page 25 of 26 Page 4 of 5

02-JUN-2017 || AFDVT - AFFIDAVIT OF 02-JUN-2017
09:26 AM SERVICE FILED 10:45 AM

Documents: | Affidavit of Service

Docket AFFIDAVIT OF SERVICE OF PLAINTIFF'S WRIT OF SUMMONS UPON
a _| STARBUCKS CORPORATION BY CERTIFIED MAIL, FIRST CLASS
"Y* | REGULAR MAIL ON 05/25/2017 FILED.

 

 

 

 

14-JUN-2017 | AFDVT - AFFIDAVIT OF 14-JUN-2017
02:44 PM SERVICE FILED 03:16 PM

Documents: || doc04438520170614145550. pdf

Docket AFFIDAVIT OF SERVICE OF PLAINTIFF'S WRIT OF SUMMONS UPON
a et STARBUCKS COFFEE COMPANY STORE NUMBER 15627 BY PERSONAL
MY"! SERVICE ON 05/30/2017 FILED.

 

 

 

 

 

 

 

28-JUN-2017 | ENAPP - ENTRY OF VILARDI, 28-JUN-2017
10:17 AM APPEARANCE SALVATORE 10:47 AM

 

 

 

 

Documents: | Maneri - EOA. pdf

Docket || ENTRY OF APPEARANCE OF SALVATORE VILARDI FILED. (FILED ON
Entry: | BEHALF OF STARBUCKS CORPORATION)

 

 

 

 

 

 

 

 

 

28-JUN-2017 [JURYT-JURY TRIAL | VILARDI., 28-JUN-2017
10:17AM  |PERFECTED SALVATORE 10:47 AM
Docket .5 JURORS REQUESTED.
Entry:
12-JUL-2017 |STPLT-STIPULATION — | VILARDI, 12-JUL-2017
04:18PM [FILED SALVATORE 04:25 PM

 

 

 

 

Documents: || Maneri - Stipulation.odf

Docket || STIPULATION TO PLAINTIFF'S COMPLAINT FILED. (FILED ON BEHALF
Entry: | OF STARBUCKS CORPORATION)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

09-AUG-2017 | CLLCM - LISTED FOR 09-AUG-2017
01:31 PM CASE MGMT CONF 01:31 PM
Docket AHS
Entry:
09-AUG-2017 || CMPLT - COMPLAINT HOEY, 09-AUG-2017
03:46 PM FILED NOTICE GIVEN CHRISTIAN J 04:23 PM
Documents:

https://fjdefile.phila.gov/efsfjd/zk_fjd_prvt_efile_13.zp_dktrpt_docket_report?case_id=17050233.... 8/25/2017
Docket Report - N@ParOMEMIDESingRH Document 1 Filed 08/29/17 Page 26 of 26 Page 5 of 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Notice to Defend. pdf
Complaint. pdf
Docket COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS
Entrv: AFTER SERVICE INACCORDANCE WITH RULE 1018.1 FILED. (FILED ON
Y*! BEHALF OF KAREN MANERI)
11-AUG-2017 | CLNGV - NOTICE GIVEN 11-AUG-2017
12:30 AM 12:30 AM
Docket fone
Entry: ‘
18-AUG-2017 | CLCPG - CONTINUANCE 18-AUG-2017
10:17 AM BY PLF GRANTED 10:17 AM
Docket Rone
Entry:
18-AUG-2017 | CLLCM - LISTED FOR 18-AUG-2017
10:18 AM CASE MGMT CONF 10:18 AM
Docket a
Entry: ‘
22-AUG-2017 | CLNGV - NOTICE GIVEN 22-AUG-2017
12:30 AM 12:30 AM
Docket none
Entry:

 

 

 

 

https://fjdefile.phila.gov/efsfjd/zk_fjd_prvt_efile_13.zp_dktrpt_docket_report?case_id=17050233.... 8/25/2017
